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 1 LAW OFFICES OF WING & PARISI
   LINDA M. PARISI, SBN 84247
 2 917 G Street
   Sacramento, CA 95814
 3 Telephone: (916) 441-4888
   Facsimile: (916) 441-1575
 4 Email: linda@wingparisilaw.com

 5 Attorneys for Hui Hua

 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             CASE NO. 2:14-cr-00220-KJM-8
11                                 Plaintiff,
                                                           MOTION TO WITHDRAW
12   v.                                                    REQUEST FOR HEARING;
                                                           AMENDED MOTION TO RETURN
13   HUI HUA,                                              PRETRIAL STATUS TO
                                                           UNSECURED BOND AND
14                                 Defendant.              RECONVEY DEED
15

16
              Hui Hua moves the Court for an order withdrawing our request for hearing. The defense
17
     requests that the Court consider granting the Order requesting the reconveyance of her Deed of
18
     Trust.
19
              The prior pleadings include the information regarding the terms and conditions of Ms. Hua’s
20
     travel and that she has returned and complied with all terms and conditions
21
              I.       Request
22
              Ms. Hua has complied with all conditions of her permitted travel to China. It is Ms. Hua’s
23
     request that the Deed of Trust be Reconveyed back and that she be restored to her pretravel pretrial
24
     release condition of an unsecured bond of $100,000.00.
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             Case 2:14-cr-00220-KJM Document 367 Filed 11/03/16 Page 2 of 3



 1         II.    Conclusion.

 2         Ms. Hua respectfully asks the Court to modify her conditions of release to return to her to an

 3 unsecured bond of $100,000.00 and to execute a Deed of Reconveyance.

 4 Dated: November 3, 2016

 5                                                        Respectfully Submitted,

 6                                                        /s/ Linda M. Parisi by e-mail authorization
                                                          ______________________________________
 7
                                                          Linda M. Parisi
 8                                                        Attorney for Hui Hua

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 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA                             Case No. 2:14-cr-00220-KJM-8
11
                              Plaintiff,
12                                                        [PROPOSED] ORDER
          v.
13

14   HUI HUA
                            Defendant,
15

16

17             IT IS HEREBY ORDERED that Ms. Hui Hua’s pretrial release conditions be modified such
18
     that her pretrial release conditions are an unsecured bond in the amount of $100,000.00. IT IS
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     FURTHER ORDERED the deeds of trust, previously posted as security in this matter is hereby
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     exonerated and the Clerk of the Court or his designee is directed to forthwith exonerate the bail
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     posted in this matter; i.e., a deed to property – 2248 Telegraph Avenue, Stockton, CA 95204 and to
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23 prepare and cause to be filed any Deed of Reconveyance as necessary to fully exonerate bail.

24
     Dated: November 3, 2016
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